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                                                                       CLERK, U.S. C~!S?',a,ICTCOURT
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     4                                                                       NOV 15~
   5                                                                                   OF CALIFORNIA

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   8                       UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
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 11      UNITED STATES OF AMERICA,                       Case No.: $~ 211- CR - 00`iS -~ L S~
 12                         Plaintiff,                       ORDER
                                                         AFTER HEARI G HELD PURSU NT
 13            vs.                                           TO 18 U.S.C. § 3148(B)
 14      'ab~o cac~ Noe RA,~.;~~Z
         (                                                (Alleged Violation of Conditions of
                            Defendant.                              Pretrial Release)
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16

171            A warrant for arrest of the defendant for the alleged violation of conditions of
18       pretrial release having been issued by Judge     S~a~c~r~                    ,and the Court
19       having conducted a hearing on the alleged violation(s),
20                                                  B.

21             The Court finds
22 (1~

23            (A) (~       that there is probable cause to believe that the defendant has
24                         committed a Federal, State, or to al cri e whi e on release; or
                                               Pos.off' co~n~lc~ svbs~Y.cG
25_           lRl    (~    that thPrP is r1Par and r.nnvin~.ina P~~irlPnnP that the ~lafanrlµnt hac
                                                              a

~.iu                       violates any other condition of release, specifically the following:
27 II                     v s~~     ~\1e~no~ dYv~s
28 I
            Case 8:21-cr-00045-JLS Document 46 Filed 11/15/21 Page 2 of 2 Page ID #:130




       1                                     and
       2 (2)
       3         (A) ( ) that based on the factors set forth in 18 U.S.C. § 3142(g), there is no
       4                       condition or combination ofconditions ofrelease that will assure that
       s                      the defendant will not flee or pose a danger to the safety or any other
       6                      person or the community; or
       ~         (B) ( ) that the defendant is unlikely to abide by any condition or
     8                        combination of conditions of release.
       9                             and/or, in the event of(1)(A)
 10 (3)                () that the defendant has not rebutted the presumption that no condition
 11                           or combination ofconditions will assure that the person will not pose
 12                           a danger to the safety of any other person or the community.
 13                                                   or
 14        (4)         ~ that there are conditions ofrelease that will assure that the defendant
1s                            will not flee or pose a danger to the safety of any other person or the
16                            community,and that the defendant will abide by such conditions. See
1~                            separate order setting conditions.(Dk~► I~1, 38~
1s                     ( )    This Order shall be stayed for 72 hours in order to allow the
19                           Government to seek review from the [assigned District Judge}
20                            [criminal duty District Judge].
21                                                    or
22                                                    C.

23               ( )   IT IS ORDERED that the defendant be detained prior to trial.
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2 .5       ~ATFTI;      ~~~S~al
                                                   KAREN E. COTT
26                                                 U1~IITED STATES MAGISTRr~TE JUDGE
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